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                                       Certificate Number: 16339-FLM-DE-031470536
                                       Bankruptcy Case Number: 18-04572


                                                      16339-FLM-DE-031470536




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on August 14, 2018, at 12:47 o'clock PM EDT, Brandy Galloway
completed a course on personal financial management given by internet by
Second Bankruptcy Course, LLC, a provider approved pursuant to 11 U.S.C. §
111 to provide an instructional course concerning personal financial management
in the Middle District of Florida.




Date:   August 14, 2018                By:      /s/Kelley Tipton


                                       Name: Kelley Tipton


                                       Title:   Certified Financial Counselor
